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                      Attorneys for Defendant
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                      known as MARATHON PATENT GROUP, INC.
                    8
                    9                      UNITED STATES DISTRICT COURT
              10                         CENTRAL DISTRICT OF CALIFORNIA
              11
              12 MICHAEL HO, an individual,                  )   Case No. 5:21-cv-00339 PSG (SPx)
                                                             )
              13                    Plaintiff,               )   (Removal from Riverside Superior Court
                             vs.                             )   Case No. CVRI2100078)
              14                                             )
                        MARATHON PATENT GROUP, INC., )           DEFENDANT’S NOTICE OF
              15        a Nevada corporation; and DOES 1-10, )   MOTION AND MOTION TO
                                                             )   COMPEL PLAINTIFF TO
              16                    Defendant.               )   PROVIDE FURTHER RESPONSES
                                                             )   TO DOCUMENT DEMANDS AND
              17                                             )   INTERROGATORIES
                                                             )
              18                                             )   Date: August 10, 2021
                                                             )   Time: 10:00 a.m.
              19                                             )   Ctrm: 3, 3rd Floor - VIA ZOOM
                                                             )
              20                                             )   Action Filed:     January 14, 2021
                                                             )   Pre-Trial Conf:   February 18, 2022
              21                                             )   Disc. Cutoff:     November 24, 2021
                                                             )   Trial Date:       March 3, 2022
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                                                                      DEF’S NOTICE OF MOTION & MTC PLTF TO
CDF LABOR LAW LLP                                                       PROVIDE FURTHER RESPONSES TO DOC
                                                                              DEMANDS & INTERROGATORIES
                        1832482.1
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  1               TO THE UNITED STATES DISTRICT MAGISTRATE JUDGE SHERI
  2 PYM, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
  3               PLEASE TAKE NOTICE THAT on August 10, 2021 at 10:00 a.m., or as
  4 soon thereafter as this matter may be heard in Courtroom 3, 3rd Floor at the George
  5 E. Brown, Jr. Federal Building and United States Courthouse, located at 3470 12th
  6 St., Riverside, California 92501, via Zoom link: https://cacd-
  7 uscourts.zoomgov.com/j/1609418440?pwd=QkVsMFdhWlJnbkxpMS82ZnNYYmd
  8 nQT09 (Telephone: (669) 254-5252, Webinar ID 160 941 8440, Passcode: 669473),
  9 Defendant Marathon Digital Holdings, formerly known as Marathon Patent Group,
 10 Inc. (“Defendant”) will and hereby does move this Court for the entry of an Order
 11 Compelling Plaintiff Michael Ho’s (“Plaintiff”) to provided further responses to
 12 document demands and interrogatories.
 13               This Motion is made pursuant Federal Rules of Civil Procedure (“FRCP”) 33,
 14 34, and 37, this Notice of Motion, the supporting Joint Stipulation Regarding
 15 Dispute as to Plaintiff’s further response to document demands and interrogatories
 16 per L.R. 37-2, and the Declarations of Kimberly M. Jansen and Gregg Zucker, all of
 17 which are filed concurrently herewith, and any other papers or argument properly
 18 before the Court.
 19               Counsel for both parties have fully complied with Local Rules 37-1 and 37-2.
 20 As required by Local Rule 37-1, counsel for Defendant have conferred in good faith
 21 with counsel for Plaintiff regarding the nature of this Motion and its legal basis and
 22 attempted to narrow the scope of issues before this Court. Defendant respectfully
 23 requests that this Court enter and order compelling:
 24       1.     Plaintiff to serve further, verified written responses to Special
 25 Interrogatory Nos. 1- 3, 5, 7 and 8-10;
 26        2.    Plaintiff to provide further written responses to Request for Production
 27 Nos. 61 and 73; and
 28 / / /
                                                    2       DEF’S NOTICE OF MOTION & MTC PLTF TO
                                                              PROVIDE FURTHER RESPONSES TO DOC
                                                                    DEMANDS & INTERROGATORIES
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           Case 5:21-cv-00339-PSG-SP Document 37 Filed 07/15/21 Page 3 of 3 Page ID #:1357



                    1               3.   Plaintiff to pay monetary sanctions in the amount of $5,000.
                    2
                    3 Dated: July 15, 2021                  CDF LABOR LAW LLP
                    4
                    5                                       By:           /s/ Kimberly M. Jansen
                                                                            Kimberly M. Jansen
                    6                                       Attorneys for Defendant
                                                            MARATHON DIGITAL HOLDINGS formerly
                    7                                       known as MARATHON PATENT GROUP, INC.
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                                                                      3      DEF’S NOTICE OF MOTION & MTC PLTF TO
CDF LABOR LAW LLP                                                              PROVIDE FURTHER RESPONSES TO DOC
                                                                                     DEMANDS & INTERROGATORIES
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